    Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 1 of 15




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                     *     MDL NO. 2179
   “Deepwater Horizon” in the                       *
   Gulf of Mexico, on April 20, 2010                *     SECTION: J
                                                    *
                                                    *
This document relates to all actions.               *     HONORABLE CARL J. BARBIER
                                                    *
                                                    *     MAGISTRATE JUDGE SHUSHAN
                                                    *
                                                    *
                                                    *


                        MEMORANDUM IN SUPPORT OF
             MOTION TO ORDER PRODUCTION OF CERTAIN DOCUMENTS
               BY SPECIAL MASTER FREEH AND TO SET SCHEDULE

        The Court has now filed on the docket a second report by Special Master Louis Freeh,

which details additional misconduct in the Court-Supervised Settlement Program (“CSSP”),

including improprieties that occurred even after the release of his first report. This second report

also provides a series of recommendations showing that—nearly 22 months after the Claims

Administrator was appointed—the CSSP continues to lack basic controls and requires the daily

supervision of the Special Master.

        Taken together, the disclosures in Special Master Freeh’s two reports are stunning. They

no doubt are of concern to members of the class and the public at large, and they are especially

alarming to BP,1 which bears the cost for the CSSP’s waste, inefficiency, errors, and corrupt

practices.

        Pursuant to Federal Rule of Civil Procedure 53, all parties have the right to file objections

or to seek to “modify” Special Master Freeh’s latest report. Accordingly, on January 21, BP

1
     We refer to BP Exploration & Production, Inc., BP America Production Company, and BP
     p.l.c. as “BP.”
    Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 2 of 15




wrote to Special Master Freeh, requesting that he provide certain documents to assist BP’s

evaluation in whether to make such a filing and, if so, its appropriate content.2 Special Master

Freeh’s team advised BP that it should direct its request to the Court.3 BP, therefore, respectfully

moves this Court for an order (1) directing Special Master Freeh to produce the documents

requested in BP’s letter (including, by way of example, documents cited in his reports,

documents already disclosed to others, and documents related to his findings and

recommendations) and (2) ensuring an appropriate schedule to permit Special Master Freeh the

time in which to produce responsive materials and to permit BP to a make an appropriate filing

thereafter.

                                         BACKGROUND

        The Court appointed Special Master Freeh to conduct “an independent, external

investigation” of the events that led to the resignation of Lionel Sutton, because “[t]his type of

investigation cannot be effectively and timely addressed by an available district judge or

magistrate judge of this district.”4 The Court made the appointment pursuant to Federal Rule of

Civil Procedure 53. The Court gave Special Master Freeh three mandates: to perform the

independent investigation relating to Lionel Sutton’s resignation, to find facts “as to any other

possible ethical violations or other misconduct within the CSSP,” and to “examin[e] and

evaluat[e] the internal compliance program and anti-corruption controls within the CSSP, and




2
     Rec. Doc. 12193-1, attached hereto as Exhibit 1.
3
     Jan. 22, 2014 Letter, attached hereto as Exhibit 2.
4
     Order, July 2, 2013, Rec. Doc. 10564.

                                                  2
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 3 of 15




mak[e] any necessary recommendations to design and to implement additional such controls,

policies, procedures, and practices to ensure the integrity of the CSSP.”5

            Special Master Freeh’s September 6, 2013 report (“First Report”) addressed the first and

second mandates.6 In light of the misconduct, conflicts, and inefficiencies identified, BP

responded to the First Report by requesting that the Court temporarily suspend the payment of

claims until the Special Master could recommend and implement necessary reforms pursuant to

his third mandate.7 The Court had responded to the First Report by instructing Special Master

Freeh to continue his work, “including examining and investigating conflicts of interest by

parties involved in the CSSP and assisting the Claim’s Administrator with implementation of

conflict of interest policies.”8 On January 17, 2014, Special Master Freeh issued a second report,

which makes additional factual findings and four recommendations.9

            The disclosures in this latest report are deeply troubling. The report reveals that more

misconduct has been unearthed at the top levels of the CSSP, and that misconduct continued

after release of the First Report.10 The Second Report describes conduct by senior CSSP

officials at a New Orleans “bar” that was not only “inconsistent with development of a proper

ethical tone from senior staff of an organization performing an important function for the Court,”


5
      Id.
6
     Report of Special Master Louis J. Freeh at 89, Sept. 6, 2013, Rec. Doc. 11287; Order, Sept. 6,
     2013, Rec. Doc. 11288.
7
      BP Response to the Report of Special Master Freeh, Sept. 23, 2013, Rec. Doc. 11471.
8
      Jan. 17, 2014 Report of Special Master Louis J. Freeh (“Second Report”), Rec. Doc. 12174,
      at 1; see also Rec. Doc. 11288.
9
      Second Report at 6-7.
10
      Id. at 3-4.

                                                     3
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 4 of 15




but also “create[d] risks for an office entrusted to administer a multi-billion dollar settlement

fund.”11 And the “bar” was not just any bar, but one that was a CSSP claimant, which received

more than $500,000 in August 2013.12 The Second Report also implies that senior CSSP staff

attempted to interfere with Special Master Freeh’s investigation, communicating with one

another after being instructed not to, with one top official telling the other, “[b]e careful of

mentioning anything about talking to me.”13

          The Second Report’s recommendations indicate that the CSSP staff are still not

adequately and properly trained in the ethical standards that should guide their conduct; that the

CSSP’s “compliance efforts” are still not sufficiently “evaluate[d], audit[ed], and test[ed]”; and

that basic procedures governing the CSSP’s communication with claimants are still deficient.14

These are fundamental weaknesses that go to the heart of the CSSP’s operations.

          The findings and recommendations in the Second Report, of course, come on top of the

First Report’s findings of serious deficiencies—not only deficiencies in procedures and controls,

but also conflicts of interest and outright corruption at the top levels of the CSSP.15 The

misconduct identified in that report was so serious that Special Master Freeh recommended a

criminal investigation, concluding that the conduct of two of the settlement program’s in-house

counsel “may have violated the federal criminal statutes regarding fraud, money laundering,




11
      Id. at 4-5.
12
      Id. at 5.
13
      Id. at 5, n.1.
14
      Id. at 6-7.
15
      See generally First Report.

                                                   4
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 5 of 15




conspiracy or perjury.”16 The report further made factual findings that, among other things,

“raise[d] serious questions” about the policies and procedures used by the settlement program in

evaluating claims for fraud.17

            Upon receipt of the Second Report, counsel for BP on January 21, 2014, requested

certain documents from Special Master Freeh related to his findings and recommendations. BP

agrees with the Special Master’s recommendations as far as they go; however, as BP explained

to him, the “facts in the report suggest that the deficiencies identified have had and will continue

to have a significant impact on BP’s interests and thus may merit more drastic action.”18 BP

further explained that it was “evaluating whether the facts set forth in your reports merit

recommendations in addition to those set forth in those reports.”19 BP requested then, and

requests now, the following documents:

            1.      The documents cited in Special Master Freeh’s First Report.20

            2.      The documents already provided by the Special Master to Lionel Sutton, Christine

                    Reitano, Jon Andry, Glen Lerner, and related entities pursuant to Orders of this

                    Court that directed the production of a number of categories of “relevant”

                    documents.21


16
      Id. at 2.
17
      Id. at 58.
18
      Ex. 1 at 2.
19
      Id.
20
      Ex. 1, Attach. A(11).
21
      Ex. 1, Attach. A(1); see Order, Sept. 19, 2013, Rec. Doc. 11442; Order, October 16, 2013,
      Rec. Doc. 11664; Order, Oct. 24, 2013, Rec. Doc. 11729; Order, Dec. 19, 2013, Rec. Doc.
      12026.

                                                     5
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 6 of 15




         3.      The documents relating to the factual basis for the disclosures and

                 recommendations in Special Master Freeh’s Second Report.22

         4.      Certain other key transcripts, witness statements, and additional documents

                 relevant to the Special Master’s findings as to misconduct, conflicts of interest,

                 and deficiencies in internal controls.23

         Special Master Freeh’s office responded, “[T]he Special Master works at the direction of

Judge Barbier in this matter, we respectfully suggest that you bring your request to the Court for

review and consideration.”24 Accordingly, BP files this motion with the Court.

                                             ARGUMENT

         A.      BP Has a Compelling Need to Evaluate the Requested Documents

         Federal Rule of Civil Procedure 53 permits any “party” to file a “motion . . . to modify” a

special master’s report.25 BP is not only a “party” here, but is owed fiduciary and contractual

obligations by the Claims Administrator and Trustee of the Settlement Fund. BP is the entity

that funds the CSSP, and its rights are implicated by the Special Master’s report and

recommendations. When the CSSP allows fraudulent claims to be paid or vendor costs to soar, it

is BP that must pick up the check and that suffers injury. When Special Master Freeh reports

gross misconduct by senior CSSP staff and pervasive failures in controls, it is BP that suffers the

harm. BP has a unique and particularly compelling interest in ensuring the proper administration

of the settlement program.


22
      Ex. 1, Attach. A(2)-(8).
23
      Ex. 1, Attach. A(9)-(10), (12)-(13).
24
      Ex. 2.
25
      Fed. R. Civ. P. 53(f)(2).

                                                   6
  Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 7 of 15




       The recommendations in the Second Report are prudent, but even more actions may be

necessary. The persistent misconduct and control deficiencies identified in the Special Master’s

First and Second Reports are shocking. That would be true for any program established to

administer settlement funds, but even more so for the CSSP, which is a court-supervised program

charged with implementing one of the most significant settlements in recent history, affecting

individuals and businesses across the entire Gulf region. Almost two years after the program’s

creation, the Second Report points to continuing and fundamental institutional weaknesses in the

CSSP’s management—weaknesses that may explain why ethical improprieties at the highest

level of management continue, and continue to be uncovered.

       As the party with perhaps the greatest interest in ensuring that the operation of the

settlement program is ethical, efficient, and fair, BP is evaluating whether more comprehensive

measures must now be taken. Access to the underlying documents is important to that evaluation.

It is not only warranted by the particular circumstances here, but required under Rule 53 and

other governing law.

       B.      Rule 53 and Due Process Require Disclosure of the Requested Documents

       Traditional notions of due process apply to the reports of special masters. Ruiz v. Estelle,

679 F.2d 1115, 1162-63, amended in part, vacated in part, 688 F.2d 266 (5th Cir. 1982). Rule

53 thus requires a court, acting on a special master’s report or recommendations, to “give the

parties notice and an opportunity to be heard,” and permits a party to file objections to, or

motions to adopt or modify the report. Fed. R. Civ. P. 53(f). A court reviews “de novo” a

special master’s factual findings and recommendations, and may affirm, modify, reject, or

resubmit the report to the master with instructions. Id.

       To facilitate the review of a special master’s report and recommendations, there is a

strong presumption that the materials underlying a special master’s report will be provided to the
                                                 7
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 8 of 15




parties, absent compelling circumstances to the contrary. The Advisory Committee’s Notes to

the 2003 Amendment to Rule 53 explains:

         A basic requirement . . . is that the master must make and file a complete record
         of the evidence considered in making or recommending findings of fact on the
         basis of evidence. . . . [T]he master should provide all portions of the record
         preserved . . . that the master deems relevant to the report. The parties may
         designate additional materials from the record, and may seek permission to
         supplement the record with evidence. The court may direct that additional
         materials from the record be provided and filed. . . .

Fed. R. Civ. P. 53 Advisory Committee’s Notes (2003 Amendment) (emphasis added).26 The

court may withhold the underlying documents from the parties, but the Advisory Committee

states that “this step should be taken only for the most compelling reasons.” Id. The

presumption in favor of disclosure follows logically from the source of the special master’s

authority, which is the court. When a special master conducts a fact-finding investigation, it




26
      See United States v. City of New York, 2013 WL 2477182 at *5 (E.D.N.Y. June 7, 2013)
      (describing process for review of special master’s report and recommendation, including
      submission of “the evidence upon which the Special Masters relied in making their
      determinations” for each objecting claimant). Although not decided under Rule 53, cases
      reviewing the actions of special masters appointed under the National Vaccine Injury
      Compensation Program, pursuant to 42 U.S.C. § 300aa-12, conclude that a party should be
      permitted to review and rebut evidence not in the record but uncovered and relied upon by
      the special master. See Hines v. Sec’y of Health & Human Servs., 940 F.2d 1518, 1526 (Fed.
      Cir. 1991) (holding that “fundamental fairness” requires “an opportunity to discredit and
      rebut” evidence relied upon by special master); Davis v. Sec’y of Health & Human Servs., 94
      Fed. Cl. 53, 65-66 (Fed. Cl. 2010) aff’d, 420 F. App’x 973 (Fed. Cir. 2011) (finding that it
      was improper for special master to rely on study that was not in the record where the parties
      were not on notice that it would be considered, and noting that “core concepts of due process”
      apply to proceedings before a special master); Snyder ex rel. Snyder v. Sec’y of Health &
      Human Servs., 2009 WL 332044 at n.8 (Fed. Cl. Feb. 12, 2009) (“[S]pecial masters advise
      the parties when they intend to consider evidence derived from their own efforts . . . and
      permit the parties to comment on such evidence”); Campbell v. Sec’y of Health & Human
      Servs., 69 Fed. Cl. 775, 776–77, 781–82 (2006) (finding that it was “fundamentally unfair”
      for special master to introduce evidence not on the record without providing a hearing).

                                                 8
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 9 of 15




stands in the shoes of the court. Were the court to conduct the investigation itself, of course, it

would have to do so in court and on the record.27

         This Court already has recognized the need for certain non-parties to obtain access to

relevant documents from Special Master Freeh’s investigation. See Order, Sept. 18, 2013, Rec.

Doc. 11412 (granting The Andry Law Firm “access to information relevant to portions of the

Special Master’s Report concerning The Andry Law Firm”); Order, Sept. 19, 2013, Rec. Doc.

11442 (granting Lionel Sutton, Christine Reitano, Jon Andry, and Glen Lerner “access to

information relevant to portions of the Special Master’s Report concerning each of them”).

Magistrate Judge Shushan has similarly granted “access to all records relevant to” the individuals

and entities objecting to the findings in the First Report. Order, Dec. 19, 2013, Rec. Doc. 12026.

         Special Master Freeh has not objected to providing these non-parties with discovery

“relevant” to his findings concerning them.28 He has acknowledged that due process requires

such discovery. See Rec. Doc. 11627 (noting that the procedures outlined by the Court, allowing

limited discovery to enable informed objections to Special Master Freeh’s findings and

recommendations, “fully comply with any notion of due process”). Non-party individuals and

entities objecting to the findings of the First Report have been given access to those portions of

the record relevant to them.29 BP—which is actually a party in this case, and the party with

27
      See 28 U.S.C. § 753(b)(3) (requiring court proceedings to be recorded when requested by
      “any party to the proceeding”); see also SEC v. Van Waeyenberghe, 990 F.2d 845, 849 (5th
      Cir. 1993) (discussing the common law presumption of public access to judicial proceedings
      and records, which “serves to promote trustworthiness of the judicial process, to curb judicial
      abuses, and to provide the public with a more complete understanding of the judicial system,
      including a better perception of its fairness” (internal quotations mark omitted)).
28
      See Response of Special Master, Sept. 18, 2013, Rec. Doc. 11408; Opposition of the Special
      Master, Oct. 10, 2013, Rec. Doc. 11627; Opposition of the Special Master, Oct. 14, 2013,
      Rec. Doc. 11639.
29
      Rec. Docs. 11442, 11664, 11729, 12026.

                                                   9
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 10 of 15




perhaps the greatest stake in the ethical and efficient operation of the CSSP—is similarly entitled

to access the evidence supporting Special Master Freeh’s findings and recommendations of

concern to it, under Rule 53 and principles of due process. Providing BP with access is the only

proper and fair course.

         C.      BP’s Requests Concern Relevant Evidence

         BP’s requests are targeted to documents relevant to the Special Master’s factual findings

and recommendations that are of particular concern to BP. There is no “compelling reason[]” to

withhold this information from BP at this point. Fed. R. Civ. P. 53 Advisory Committee’s Notes

(2003 Amendment).

         First, BP is entitled to the documents cited in Special Master Freeh’s First Report,30

which are already before the Court and which underlie all the Special Master’s

recommendations.31 The First Report contained more than 500 footnotes specifying the evidence

that supported Special Master Freeh’s factual findings. BP should be permitted to review not

only Special Master’ Freeh’s summary, but the underlying evidence itself. BP has a direct,

compelling interest in understanding the precise contours of the misconduct, conflicts of interest,

and other improprieties described in the report. This evidence clearly informed both the

additional fact disclosures and the specific recommendations made by the Special Master in his

latest report. BP is entitled to those materials to assess Special Master Freeh’s recommendations

and determine whether the facts warrant more drastic steps.

         Second, there is no reason to withhold from BP the same documents already provided by

the Special Master to Lionel Sutton, Christine Reitano, Jon Andry, Glen Lerner, and related

30
      See Ex. 1, Attach. A(11).
31
      See Rec. Doc. 11639 (noting that “those documents referenced in the Report” are “before the
      Court”).

                                                  10
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 11 of 15




entities.32 This Court has previously found that those materials were “relevant” to the findings in

the First Report concerning unethical and potentially criminal conduct. The interview transcripts,

interview notes, and documents that this Court has ordered disclosed again clearly inform

Special Master Freeh’s recommendations with respect to conflicts of interest and appropriate

communications between the CSSP and claimants. Access to these relevant materials would

similarly inform BP’s assessment of whether further recommendations are required.

         Third, for similar reasons, the documents underlying the disclosures and

recommendations in Special Master Freeh’s Second Report should be disclosed to BP.33

Because it alone bears and is injured by the costs of fraud, favoritism, and other improprieties in

the CSSP, BP should be permitted to object to the Second Report (in the form of additional

recommendations) on an informed basis. Of special importance are the documents underlying

Special Master Freeh’s four recommendations as to controls. BP agrees with the thrust of the

Special Master’s recommendations and welcomes efforts to establish controls and efficiencies

that have been consistently lacking. But the question is whether additional action is also required.

Access to the evidence underlying these recommendations would provide BP with the “full

picture” of the “analytical process by which [Special Master Freeh’s] ultimate findings were

reached.”34 It would significantly advance BP’s evaluation of whether Special Master Freeh’s

current recommendations are adequate to ensure the integrity of the CSSP or whether BP must

exercise its rights under Rule 53 to file a motion to modify the Special Master’s report.




32
      See Ex. 1, Attach. A(1); see Rec. Docs. 11442, 11664, 11729, 12026.
33
      See Ex. 1, Attach. A(2)-(8).
34
      Rec. Doc. 11639.

                                                11
     Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 12 of 15




         Fourth, BP should additionally receive the other requested transcripts, witness statements,

and documents relevant to the Special Master’s findings as to misconduct, conflicts of interest,

and deficiencies in internal controls.35 These transcripts and witnesses statements from CSSP

staff, as well as the other requested documents, are directly relevant to BP’s evaluation of

whether more action is now required. These documents relate both to the specific misconduct

and the fundamental deficiencies in controls and other policies and procedures that have been

revealed. The First Report explained, for instance, that Special Master Freeh’s interviews “had

the dual purpose of identifying other potential ethical violations and misconduct . . . and

providing a framework for the design and implementation of additional CSSP compliance

programs, and anti-fraud, anti-corruption and conflict of interest controls, policies, procedures,

and practices.”36 BP’s evaluation of whether greater action is now required hinges both on the

persistent misconduct and the absence of adequate controls, policies, procedures, and practices.

These are precisely the documents that will assist in BP’s determination.

         D.      The Court Should Extend the Time to Seek Modification of the Special
                 Master’s Report

         Under Rule 53, a party is provided 21 days to move to modify the Special Master’s report,

“unless the court sets a different time.” Fed. R. Civ. P. 53(f)(2). Because BP is directing its

request to the Court in the first instance, it can make no representations as to what the Special

Master believes is a reasonable schedule for production of materials (although BP assumes that

most of the requested documents are readily available and exist in producible form).




35
      See Ex. 1, Attach. A(9)-(10), (12)-(13).
36
      First Report at 14.

                                                 12
 Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 13 of 15




       The Court should enter an appropriate schedule so that the Special Master can produce

the documents, and BP can review and take the production of documents into consideration

before any filing is made.

                                        CONCLUSION

       BP respectfully requests that the Court (1) direct Special Master Freeh to produce the

requested documents and (2) that the Court enter an appropriate schedule allowing the Special

Master to make production, BP to review the same, and BP to make any filing in response to the

Second Report based upon its review of the underlying evidence.



 January 29, 2014                                Respectfully submitted,

 James J. Neath                                     /s/ Kevin M. Downey
 Mark Holstein                                   Kevin M. Downey
 BP AMERICA INC.                                 F. Lane Heard III
 501 Westlake Park Boulevard                     WILLIAMS & CONNOLLY LLP
 Houston, TX 77079                               725 Twelfth Street, N.W.
 Telephone: (281) 366-2000                       Washington, DC 20005
 Telefax: (312) 862-2200                         Telephone: (202) 434-5000
                                                 Telefax: (202) 434-5029




                                               13
Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 14 of 15




Daniel A. Cantor                       /s/ Don K. Haycraft
Andrew T. Karron                    S. Gene Fendler (Bar #05510)
ARNOLD & PORTER LLP                 Don K. Haycraft (Bar #14361)
555 Twelfth Street, NW              R. Keith Jarrett (Bar #16984)
Washington, DC 20004                LISKOW & LEWIS
Telephone: (202) 942-5000           701 Poydras Street, Suite 5000
Telefax: (202) 942-5999             New Orleans, Louisiana 70139
                                    Telephone: (504) 581-7979
Robert C. “Mike” Brock              Telefax: (504) 556-4108
COVINGTON & BURLING LLP
1201 Pennsylvania Avenue, NW        Richard C. Godfrey, P.C.
Washington, DC 20004                J. Andrew Langan, P.C.
Telephone: (202) 662-5985           Wendy L. Bloom
Telefax: (202) 662-6291             KIRKLAND & ELLIS LLP
                                    300 North LaSalle Street
Jeffrey Lennard                     Chicago, IL 60654
Keith Moskowitz                     Telephone: (312) 862-2000
DENTONS US LLP                      Telefax: (312) 862-2200
233 South Wacker Drive
Suite 7800                          Jeffrey Bossert Clark
Chicago, IL 60606                   Steven A. Myers
Telephone: (312) 876-8000           KIRKLAND & ELLIS LLP
Telefax: (312) 876-7934             655 Fifteenth Street, N.W.
                                    Washington, D.C. 20005
OF COUNSEL                          Telephone: (202) 879-5000
                                    Telefax: (202) 879-5200

            ATTORNEYS FOR BP EXPLORATION & PRODUCTION INC.
                 AND BP AMERICA PRODUCTION COMPANY




                                   14
 Case 2:10-md-02179-CJB-DPC Document 12254-1 Filed 01/29/14 Page 15 of 15




                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 29th day of January, 2014.


                                                     /s/ Don K. Haycraft
                                                     Don K. Haycraft
